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                      Composite Exhibit 1
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                                                       ( Use the "Back" button of the Internet Browser to return to TESS)



 Word Mark                   TIFFANY & CO.
 Goods and Services          IC 014. US 028. G & S: Jewelry and Watches. FIRST USE: 18680000. FIRST USE IN COMMERCE:
                             18680000
 Standard Characters
 Claimed
 Mark Drawing Code           (4) STANDARD CHARACTER MARK
 Serial Number               70023573
 Filing Date                 July 29, 1893
 Current Basis               1A
 Original Filing Basis       1A
 Change In
                             CHANGE IN REGISTRATION HAS OCCURRED
 Registration
 Registration Number 0023573
 Registration Date           September 5, 1893
 Owner                       (REGISTRANT) Tiffany & Company CORPORATION NEW YORK New York NEW YORK

                             (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                             PARSIPPANY NEW JERSEY 07054
 Assignment
                             ASSIGNMENT RECORDED
 Recorded
 Attorney of Record          LAWRENCE E. APOLZON
 Type of Mark                TRADEMARK
 Register                    PRINCIPAL
 Affidavit Text              SECTION 8(10-YR) 20121117.
 Renewal                     6TH RENEWAL 20121117
 Live/Dead Indicator         LIVE




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http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.2.1[3/19/2015 2:47:33 PM]
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                                      Trademark Assignment Abstract of Title
  Total Assignments: 8
          Serial #: 70023573                Filing Dt: 07/29/1893                  Reg #: 23573                       Reg. Dt: 09/05/1893
       Registrant: Tiffany & Company
             Mark: TIFFANY & CO.
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=70023573[3/19/2015 2:48:21 PM]
USPTO Assignments on the Web
           Case 0:24-cv-62090-DSL Document 1-2 Entered on FLSD Docket 11/05/2024 Page 6 of 32
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 0772/0319                          Recorded: 11/09/1990                                             Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: ROBERTSON - CECO CORPORATION                                                      Exec Dt: 11/08/1990
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
        Assignee: WELLS FARGO BANK, N. A.                                                        Entity Type: A NATIONAL BANKING
                                                                                                              ASSOCIATION
                   9TH FLOOR
                                                                                                 Citizenship: NONE
                   333 SOUTH GRAND AVENUE

                   LOS ANGELES, CALIFORNIA 90071

  Correspondent: SHEPPARD, MULLIN, RICHTER & HAMPTON

                   FORTH - EIGHTH FLOOR

                   333 SOUTH HOPE STREET

                   LOS ANGELES, CA 90071
  Assignment: 5
     Reel/Frame: 0857/0891                           Recorded: 03/06/1992                                              Pages: 8

     Conveyance: MODIFICATION TO COLLATERAL ASSIGNMENT TO MODIFY AGREEMENT DATED 11-08-90 (SEE RECORD FOR DETAILS)
        Assignor: ROBERTSON-CECO CORPORATION                                                        Exec Dt: 01/31/1992
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
        Assignee: WELLS FARGO BANK N.A.                                                          Entity Type: A NATIONAL BANKING
                                                                                                              ASSOCIATION, AS AGENT
                                                                                                 Citizenship: NONE

  Correspondent: GIBSON, DUNN & CRUTCHER

                   ONE MONTGOMERY STREET

                   TELESIS TOWER

                   SAN FRANCISCO, CALIFORNIA 94104-4505
  Assignment: 6
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                              Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 7


http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=70023573[3/19/2015 2:48:21 PM]
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     Reel/Frame: 3757/0871                                 Recorded: 04/10/2008                                                              Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: CORPORATION
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 8
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                 CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                 CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                 ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                 (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


                                                                                                                                      Search Results as of: 03/19/2015 02:47 PM
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                                                             Web interface last modified: July 25, 2014 v.2.5




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 Word Mark          TIFFANY
 Goods and          IC 008 014. US 028. G & S: Jewelry for Personal Wear, Not Including Watches; [Precious Stones,] and Flat and
 Services           Hollow Ware Made of or Plated with Precious Metal. FIRST USE: 18680000. FIRST USE IN COMMERCE: 18680000
 Mark
 Drawing            (5) WORDS, LETTERS, AND/OR NUMBERS IN STYLIZED FORM
 Code
 Serial
                    71126975
 Number
 Filing Date        January 9, 1920
 Current
                    1A
 Basis
 Original
                    1A
 Filing Basis
 Registration
              0133063
 Number
 Registration
              July 6, 1920
 Date
 Owner              (REGISTRANT) TIFFANY & COMPANY CORPORATION NEW YORK 727 FIFTH AVENUE NEW YORK NEW YORK
                    10022

                    (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                    PARSIPPANY NEW JERSEY 07054
 Assignment
                    ASSIGNMENT RECORDED
 Recorded
 Attorney of
                    LAWRENCE E. APOLZON
 Record
 Prior
               0023572;0023573;0058872
 Registrations
 Type of Mark TRADEMARK



http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.3.1[3/19/2015 2:56:16 PM]
Trademark Electronic Search System (TESS)
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 Register         PRINCIPAL
 Affidavit Text SECTION 8(10-YR) 20101229.
 Renewal          4TH RENEWAL 20101229
 Live/Dead
                  LIVE
 Indicator




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http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.3.1[3/19/2015 2:56:16 PM]
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                                      Trademark Assignment Abstract of Title
  Total Assignments: 7
          Serial #: 71126975                Filing Dt: 01/09/1920                  Reg #: 133063                      Reg. Dt: 07/06/1920
       Registrant: TIFFANY & COMPANY
             Mark: TIFFANY
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




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USPTO Assignments on the Web
          Case 0:24-cv-62090-DSL Document 1-2 Entered on FLSD Docket 11/05/2024 Page 13 of 32
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                           Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                           Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                           Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                 Exec Dt: 01/29/2008
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                               Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 7



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     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


                                                                                                                                      Search Results as of: 03/19/2015 02:56 PM
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                                                             Web interface last modified: July 25, 2014 v.2.5




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      Logout    Please logout when you are done to release system resources allocated for you.

 Record 1 out of 1

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 Word Mark          TIFFANY & CO.
 Goods and          IC 008. US 023. G & S: Bottle Openers Made in Whole or in Part of Precious or Semi-Precious Metals. FIRST USE:
 Services           19080000. FIRST USE IN COMMERCE: 19080000

                    IC 014. US 002 027 028 050. G & S: Decorative Art Objects Made in Whole or in Part of Precious or Semi-Precious
                    Metals-Namely, Figurines, Boxes, Bowls, Trays, [ and Flowers, ] Jewelry, Metal Wares Made in Whole or in Part of
                    Precious or Semi-Precious Metals-Namely, Business Card Cases, Candelabras, Candlesticks, Cigar and Cigarette
                    Boxes, Napkin Rings, and Bookmarks, Semi-Precious Stones, Natural and Cultured Pearls. FIRST USE: 18680000.
                    FIRST USE IN COMMERCE: 18680000
 Mark
 Drawing            (1) TYPED DRAWING
 Code
 Serial
                    73304929
 Number
 Filing Date        April 9, 1981
 Current
                    1A
 Basis
 Original
                    1A
 Filing Basis
 Published
 for                November 30, 1982
 Opposition
 Change In
              CHANGE IN REGISTRATION HAS OCCURRED
 Registration
 Registration
              1228189
 Number
 Registration
              February 22, 1983
 Date
 Owner              (REGISTRANT) Tiffany & Company CORPORATION NEW YORK 727 5th Ave. New York NEW YORK 10022

                    (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                    PARSIPPANY NEW JERSEY 07054
 Assignment
                    ASSIGNMENT RECORDED
 Recorded
 Attorney of
                    LAWRENCE E. APOLZON
 Record



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Trademark Electronic Search System (TESS)
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 Prior
               0058872
 Registrations
 Type of Mark TRADEMARK
 Register         PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130131.
 Renewal          2ND RENEWAL 20130131
 Live/Dead
                  LIVE
 Indicator




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 Assignments on the Web > Trademark Query


                                      Trademark Assignment Abstract of Title
  Total Assignments: 7
          Serial #: 73304929                Filing Dt: 04/09/1981                  Reg #: 1228189                     Reg. Dt: 02/22/1983
       Registrant: Tiffany & Company
             Mark: TIFFANY & CO.
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=73304929[3/19/2015 3:01:55 PM]
USPTO Assignments on the Web
          Case 0:24-cv-62090-DSL Document 1-2 Entered on FLSD Docket 11/05/2024 Page 19 of 32
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                           Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                           Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                           Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                 Exec Dt: 01/29/2008
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                               Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 7



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USPTO Assignments on the Web
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     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


                                                                                                                                      Search Results as of: 03/19/2015 03:01 PM
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 Word Mark          TIFFANY
 Goods and          IC 014. US 002 027 028 050. G & S: Decorative Art Objects Made in Whole or in Part of Precious or Semi-Precious
 Services           Metals-Namely, Figurines, Boxes, Bowls, Trays, [ and Flowers, ] Jewelry, Semi-Precious Stones, and Natural and
                    Cultured Pearls. FIRST USE: 18680000. FIRST USE IN COMMERCE: 18680000
 Mark
 Drawing            (1) TYPED DRAWING
 Code
 Serial
                    73304915
 Number
 Filing Date        April 9, 1981
 Current
                    1A
 Basis
 Original
                    1A
 Filing Basis
 Published
 for                November 30, 1982
 Opposition
 Registration
              1228409
 Number
 Registration
              February 22, 1983
 Date
 Owner              (REGISTRANT) Tiffany & Company CORPORATION NEW YORK 727 5th Ave. New York NEW YORK 10022

                    (LAST LISTED OWNER) TIFFANY (NJ) LLC LIMITED LIABILITY COMPANY DELAWARE 15 SYLVAN WAY
                    PARSIPPANY NEW JERSEY 07054
 Assignment
                    ASSIGNMENT RECORDED
 Recorded
 Attorney of
                    LAWRENCE E. APOLZON
 Record
 Prior
               0132262;0133063;0139646
 Registrations
 Type of Mark TRADEMARK
 Register           PRINCIPAL
 Affidavit Text SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20130204.
 Renewal            2ND RENEWAL 20130204


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Trademark Electronic Search System (TESS)
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 Live/Dead
                  LIVE
 Indicator




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                                      Trademark Assignment Abstract of Title
  Total Assignments: 8
          Serial #: 73304915                Filing Dt: 04/09/1981                  Reg #: 1228409                     Reg. Dt: 02/22/1983
       Registrant: Tiffany & Company
             Mark: TIFFANY
  Assignment: 1
     Reel/Frame: 0497/0773                          Recorded: 05/13/1985                                              Pages: 21

                   AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK, SUBJECT TO
     Conveyance:
                   AGREEMENT RECITED (SEE RECORD)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: ARABIAN INVESTMENT BANKING CORPORATION (INVESTCORP) SERVICES,                   Entity Type: CORPORATION
                  N.V.                                                                            Citizenship: NETHERLANDS ANTILLES
                   9WEST 57TH ST.

                   NEW YORK, NEW YORK 10019

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST., N.W.

                   WASHINGTON, DC 20006
  Assignment: 2
     Reel/Frame: 0497/0794                          Recorded: 05/13/1985                                              Pages: 21

                 AS SECURITY FOR OBLIGATIONS RECITED, ASSIGNOR HEREBY GRANTS A SECURITY INTEREST UNDER SAID MARK SUBJECT TO
     Conveyance:
                 AGREEMENT RECITED, (SEE RECORD FOR DETAILS)
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 05/08/1985
                                                                                                  Entity Type: UNKNOWN
                   DBA/AKA/TA: AKA TIFFANY & COMPANY AND TIFFANY & CO.
                                                                                                  Citizenship: NONE
        Assignee: GENERAL ELECTRIC CREDIT CORPORATION                                             Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
                   2777 SUMMER ST.

                   STAMFORD, CONNECTICUT 06905

  Correspondent: CUSHMAN, DARBY, ET AL.

                   8TH FLOOR

                   1801 K ST, N.W.

                   WASHINGTON, DC 20006
  Assignment: 3
     Reel/Frame: 0575/0301                          Recorded: 05/22/1987                                              Pages: 17

     Conveyance: SECURITY INTEREST
        Assignor: GENERAL ELECTRIC CREDIT CORPORATION                                                Exec Dt: 05/13/1987
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK




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USPTO Assignments on the Web
          Case 0:24-cv-62090-DSL Document 1-2 Entered on FLSD Docket 11/05/2024 Page 25 of 32
        Assignee: TIFFANY AND COMPANY                                                            Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: TIFFANY & CO.

                   FIFTH AVENUE & 57TH STREET

                   NEW YORK, NY 10022
  Assignment: 4
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                            Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 5
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                            Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                               Exec Dt: 09/01/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                              Entity Type: CORPORATION
                                                                                                 Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 6
     Reel/Frame: 1961/0759                          Recorded: 11/22/1999                                           Pages: 22

     Conveyance: SECURITY AGREEMENT
        Assignor: PAYLESS CASHWAYS, INC.                                                            Exec Dt: 11/17/1999
                                                                                                 Entity Type: CORPORATION
                                                                                                 Citizenship: DELAWARE
        Assignee: CONGRESS FINANCIAL CORPORATION (CENTRAL)                                       Entity Type: CORPORATION
                                                                                                 Citizenship: ILLINOIS
                   150 S. WACKER DRIVE

                   CHICAGO, ILLINOIS 60606

  Correspondent: OTTERBOURG, STEINDLER, HOUSTON & ROSEN

                   ATTN: MITCHELL M. BRAND, ESQ.

                   230 PARK AVENUE

                   NEW YORK, NEW YORK 10169
  Assignment: 7



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     Reel/Frame: 3757/0871                                 Recorded: 04/10/2008                                                              Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: CORPORATION
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 8
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

                   CORRECTIVE ASSIGNMENT TO CORRECT THE ENTITY TYPE OF THE ASSIGNEE ERRONEOUSLY IDENTIFIED AS A "DELAWARE
                   CORPORATION" INSTEAD OF "DELAWARE LIMITED LIABILITY COMPANY" PREVIOUSLY RECORDED ON REEL 003757 FRAME 0871.
     Conveyance:
                   ASSIGNOR(S) HEREBY CONFIRMS THE MERGER OF TIFFANY (NJ) INC., A NEW JERSEY CORPORATION, WITH AND INTO TIFFANY
                   (NJ) LLC, A DELAWARE LIMITED LIABILITY COMPANY.
        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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 Word Mark           T & CO.
 Goods and           IC 014. US 028. G & S: all types of jewelry made of, or in part of, precious metals and/or with precious or semi-
 Services            precious stones. FIRST USE: 19790000. FIRST USE IN COMMERCE: 19790000
 Mark Drawing
              (1) TYPED DRAWING
 Code
 Serial Number 74104857
 Filing Date         October 11, 1990
 Current Basis 1A
 Original Filing
                 1A
 Basis
 Published for
                     October 1, 1991
 Opposition
 Registration
                     1669365
 Number
 Registration
                     December 24, 1991
 Date
 Owner               (REGISTRANT) TIFFANY AND COMPANY CORPORATION NEW YORK 727 Fifth Avenue New York NEW YORK
                     10022

                     (LAST LISTED OWNER) TIFFANY (NJ) LLC CORPORATION DELAWARE 15 SYLVAN WAY PARSIPPANY NEW
                     JERSEY 07054
 Assignment
                     ASSIGNMENT RECORDED
 Recorded
 Attorney of
                     LAWRENCE E. APOLZON
 Record
 Prior
                     0261711
 Registrations
 Disclaimer          NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "CO." APART FROM THE MARK AS SHOWN
 Type of Mark        TRADEMARK
 Register            PRINCIPAL
 Affidavit Text      SECT 15. SECT 8 (6-YR). SECTION 8(10-YR) 20110809.
 Renewal             2ND RENEWAL 20110809
 Live/Dead
                     LIVE
 Indicator



http://tess2.uspto.gov/bin/showfield?f=doc&state=4804:5y2p4w.8.1[3/19/2015 3:17:28 PM]
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           United States Patent and Trademark Office

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 Assignments on the Web > Trademark Query


                                    Trademark Assignment Abstract of Title
  Total Assignments: 4
          Serial #: 74104857                Filing Dt: 10/11/1990                  Reg #: 1669365                  Reg. Dt: 12/24/1991
       Registrant: TIFFANY AND COMPANY
             Mark: T & CO.
  Assignment: 1
     Reel/Frame: 2153/0480                           Recorded: 10/12/1999                                            Pages: 5

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   JOCELYN G. BOLLING

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 2
     Reel/Frame: 2153/0923                           Recorded: 10/12/1999                                            Pages: 6

     Conveyance: ASSIGNS THE ENTIRE INTEREST
        Assignor: TIFFANY AND COMPANY                                                                Exec Dt: 09/01/1999
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW YORK
        Assignee: TIFFANY (NJ) INC.                                                               Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
                   727 FIFTH AVENUE

                   NEW YORK, NEW YORK 10022

  Correspondent: DORSEY & WHITNEY LLP

                   PATRICIA RUSSELL BROWN

                   1001 PENNSYLVANIA AVENUE, N.W.

                   WASHINGTON, DC 20004
  Assignment: 3
     Reel/Frame: 3757/0871                           Recorded: 04/10/2008                                            Pages: 5

     Conveyance: MERGER EFFECTIVE 02012008
        Assignor: TIFFANY (NJ) INC.                                                                  Exec Dt: 01/29/2008
                                                                                                  Entity Type: CORPORATION
                                                                                                  Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                Entity Type: CORPORATION
                                                                                                  Citizenship: DELAWARE
                   15 SYLVAN WAY




http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=74104857[3/19/2015 3:17:57 PM]
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                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017
  Assignment: 4
     Reel/Frame: 3786/0665                                 Recorded: 06/02/2008                                                              Pages: 9

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        Assignor: TIFFANY (NJ) INC.                                                                                    Exec Dt: 01/29/2008
                                                                                                                   Entity Type: CORPORATION
                                                                                                                   Citizenship: NEW JERSEY
        Assignee: TIFFANY (NJ) LLC                                                                                 Entity Type: LIMITED LIABILITY COMPANY
                                                                                                                   Citizenship: DELAWARE
                   15 SYLVAN WAY

                   PARSIPPANY, NEW JERSEY 07054

  Correspondent: LAWRENCE E. APOLZON

                   FROSS ZELNICK LEHRMAN & ZISSU, P.C.

                   866 UNITED NATIONS PLAZA

                   NEW YORK, NY 10017


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                                                             Web interface last modified: July 25, 2014 v.2.5




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http://assignments.uspto.gov/assignments/q?db=tm&qt=sno&reel=&frame=&sno=74104857[3/19/2015 3:17:57 PM]
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